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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


BRYAN AND SHARON GIGLIOTTI                 )
h/w                                        )
                                           )    Case Number: 11-0006
              Plaintiff,                   )
                                           )
                vs.                        )
                                           )
 WELTMAN, WEINBERG & REIS                  )
 CO., L.P.A.                               )
             Defendant                     )


                           STIPULATION OF DISMISSAL

       AND NOW, this 2nd day of June, 2011, it is hereby Stipulated and Agreed by

and between counsel for plaintiff and counsel for defendant in the above captioned matter

that the above captioned matter be dismissed with prejudice.



                                     Warren & Vullings, LLP


                               BY:__/s/ Bruce K. Warren
                                   Bruce K. Warren, Esquire
                                   Attorney for Plaintiff




                                     Weltman, Weinberg & Reis Co., L.P.A.

                               BY:_/s/ Michael J. Dougherty
                                    Michael J. Dougherty, Esquire
                                    Attorney for Defendant
